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         ORDERED in the Southern District of Florida on April 25, 2022.



                                                     Scott M. Grossman, Judge
_____________________________________________________________________________
                                           United States Bankruptcy Court




                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION



         IN RE:
         SEVEN STARS ON THE HUDSON                           CASE NO: 19-17544-SMG
         CORPORATION, d/b/a ROCKIN’JUMP


                     Debtor,
         _______________________________________/
         SEVEN STARS ON THE HUDSON                           ADVERSARY NO.: 19-01230-SMG
         CORPORATION, d/b/a ROCKIN’JUMP


                     Plaintiff,
         v.
         MDG POWERLINE HOLDINGS, LLC,
         and XBK MANAGEMENT LLC, d/b/a
         XTREME ACTION PARK,


                     Defendants.
         _______________________________________/
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    ORDER GRANTING MDG POWERLINE HOLDINGS, LLC’S MOTION FOR
             ATTORNEYS’ FEES AND NONTAXABLE COSTS

       Defendant MDG Powerline Holdings, LLC (“MDG Powerline”), by and through its

undersigned attorney, filed its Motion for Attorneys’ Fees and Nontaxable Costs on February

14, 2022 (ECF No. 258) (the “Motion”). On March 25, 2022, Plaintiff-Debtor Seven Stars on

the Hudson Corporation (“Seven Stars”) filed its Response to the Motion stating its objections

to MDG Powerline’s fee application. (ECF No. 294.) MDG Powerline filed its Reply in

Support of the Motion on April 7, 2022. (ECF No. 300.) Following a hearing held on April

20, 2022, and having reviewed the Motion, the Plaintiff-Debtor’s Response, MDG Powerline’s

Reply, and the Clerk’s Bill of Costs (ECF No. 270), it is ORDERED AND ADJUDGED that:

       1. MDG Powerline’s Motion for Attorneys’ Fees and Nontaxable Costs is GRANTED

           IN PART, for the reasons stated at the hearing held on April 20, 2022.

       2. MDG Powerline is awarded $229,012.00 in reasonable attorneys’ fees as the

           prevailing party in this action and $9,141.23 in nontaxable costs, in addition to the

           $10,436.42 in taxable costs previously awarded in the Clerk’s Bill of Costs (ECF

           No. 270).

       3. The Court will enter a separate final judgment on attorneys’ fees and costs.


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Submitted By:
Jay M. Sakalo
Florida Bar No. 0156310
BILZIN SUMBERG BAENA PRICE & AXELROD LLP
1450 Brickell Avenue, Suite 2300
Miami, Florida 33134
Telephone: (305) 374-7580
Facsimile: (305) 351-2253
E-mail: jsakalo@bilzin.com
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Copies furnished to:
Jay M. Sakalo, Esq.
[Attorney Sakalo is hereby directed to serve a copy of this Order upon all parties in interest and to
file a certificate of service of same.]
